903 F.2d 837
    284 U.S.App.D.C. 219
    OLYMPIC FEDERAL SAVINGS AND LOAN ASSOCIATION, Plaintiff-Appellee,v.DIRECTOR, OFFICE OF THRIFT SUPERVISION and Federal DepositInsurance Corporation, in its own capacity and assuccessor in interest to FSLIC,Defendants-Appellants.
    Nos. 90-5085, 90-5086.
    United States Court of Appeals,District of Columbia Circuit.
    April 9, 1990.
    
      Appeal from the United States District Court for the District of Columbia (Dist. Ct. No. CA-90-0482).
      Before MIKVA, BUCKLEY and D.H. GINSBURG, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      The court having issued an order on April 5, 1990 to show cause as to why this appeal should not be dismissed, and the parties having responded thereto on April 6, 1990, the court concludes that this appeal has been rendered moot by the nomination and confirmation of Timothy Ryan, Jr. as Director of the Office of Thrift Supervision.
    
    
      2
      In the order on appeal, the district court directed that
    
    
      3
      [n]either the Acting Director of OTS nor any other officer at OTS may appoint a receiver or conservator for Olympic until a new Director is constitutionally appointed.
    
    
      4
      Olympic Federal Savings and Loan Ass'n v. Director, Office of Thrift Supervision, et. al., 732 F.Supp. 1183 (D.D.C.1990) (order granting preliminary injunction).  Because a new OTS Director has been constitutionally appointed, "the terms of the injunction ... have been fully and irrevocably carried out," and no live issue remains for this court's resolution.   See University of Texas v. Camenisch, 451 U.S. 390, 398, 101 S.Ct. 1830, 1835, 68 L.Ed.2d 175 (1980).  Therefore, it is
    
    
      5
      ADJUDGED that the district court's preliminary injunction lapses of its own terms, and ORDERED that this court's order staying the effect of the preliminary injunction is vacated.  It is
    
    
      6
      FURTHER ORDERED that these appeals are dismissed as moot and these cases are remanded to the district court for further proceedings consistent with this order.  It is
    
    
      7
      FURTHER ORDERED that the order to show cause is discharged.
    
    